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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  NO. 4:14CR00010-01 JLH

STEPHEN MARK WARE                                                                    DEFENDANT

                                             ORDER

       On March 2, 2015, the Court entered an order setting a deadline of March 17, 2015, for

counsel for the government or defendant to dispute the findings in the forensic evaluation report, to

file a motion for hearing, or motion in opposition to the report, including a concise statement of

opposition to the report and supporting authorities.

       No opposition to the report has been filed. Therefore, the conclusions stated in the report

are adopted as the conclusions and findings of the Court.

       IT IS SO ORDERED this 20th day of March, 2015.



                                                       _________________________________
                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
